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THE WEITZ LAW FIRM, P.A.
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                                                                          18305 Biscayne Blvd., Suite 214
                                                                                 Aventura, Florida 33160


October 5, 2020

VIA CM/ECF
Honorable Judge Andrew L. Carter, Jr.                                                    October 8, 2020
United States District Court
Southern District of New York
40 Foley Square, Courtroom 1306
New York, New York 10007-1312

                       Re:     Vuppala v. Caserta Eye, Inc., et al
                               Case 1:20-cv-01571-ALC

Dear Judge Carter:

        Pursuant to the Order [D.E. 15], dated September 30, 2020, requesting a joint letter on the
status of the case, on or before October 8, 2020, we submit the following:

       The parties have initiated several rounds of settlement discussions and are diligently
attempting to settle this matter. At this time, the parties request an additional 30 day stay, in order to
provide time for in-depth settlement discussions, while conserving further attorney’s fees and costs
untoward resolution of this matter.

       Thank you for your consideration and attention to this matter.

Sincerely,

 By: /S/ B. Bradley Weitz                 .          By: /S/ Barry G. Margolis          .
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    Attorney for Plaintiff




                                                               October 8, 2020
                                                           The parties are ordered to file a status
                                                           report no later than November 9, 2020.
